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 4
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 5

 6

 7


 8                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF CALIFORNIA
 9
      ROY MASON                                   CASE NO. '18CV2655 WQHKSC
10

11                                                COMPLAINT FOR DAMAGES AND
      Plaintiff,                                  INJUNCTIVE RELIEF FOR
12                                                VIOLATIONS OF AMERICAN'S
      vs.                                         WITH DISABILITIES ACT· UNRUH
13                                                CIVIL RIGHTS ACT; NEGLIGENCE
14
      IRISH TIMES LLC dba DUBLIN
      SQUARE IRISH PUB & GRILL,
1s    GASLAMP PORTFOLIO
16    MANAGEMENT LLC and DOES 1-
      10, INCLUSIVE.
17

18
      Defendants.
19

20

21
             Plaintiff, ROY MASON, (hereinafter referred to as "Plaintiff'), files his

22    causes of action within this Civil Complaint against Defendant(s), IRISH TIMES
23
      LLC dba DUBLIN SQUARE IRISH PUB & GRILL, GASLAMP PORTFOLIO
24

2s    MANAGEMENT LLC, (Herein known as "Defendants") and DOES 1 through 10,
26
      Inclusive, and would show unto the Court the following:
27

28




        l!Roy Mason v. Dublin Square ADA Complaint US Distr.ict Court
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 1
                                    I. JURISDICTION AND VENUE
 2
            1.        This Court has original jurisdiction regarding this matter pursuant to
 3

 4    28 U.S.C. Section 1331 and 1343(a)(3) and (a)(4) for claims arising under the
 5
      Americans with Disabilities act of 1990, 42 USC Section 12101, et seq.
 6

 7          2.        Pursuant to pendant jurisdiction, an attendant and related cause of
 8
      action, arising from the same center of operative facts; and, arising out of the same
 9

10
      transactions this matter is also brought under California's Unruh Civil Rights Act

11    Civil Code Section 51, and the California Disabled Persons Act, and the Disabled
12
      Persons Act, Civil Code Section 54, et seq., which expressly incorporates under
13

14    common law theories and for injunctive relief.
15
            3.        Venue is proper in this court pursuant to 18 U.S.C. Section 139l(b)
16

17    and is founded on the fact that the real property and business location, which is the

18
      subject of this action and located in the District where the Plaintiff's cause(s) of
19
      action arose.
20

21          4.        All causes of action based on Federal law and those based on State
22
      law, as states, arose from a commonality of operative facts. Plaintiff was denied
23

24    equal access to Defendants facility, goods, and services in violation of both Federal
25
      and State laws or was and/or was injured due to violations of the afore-referenced
26

27
      access laws. The State causes of action included in Plaintiff's complaint are

28




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 1
      related to the Federal causes of action as they derive from the same controversy.
 2
      Therefore, the issues are best tried in one judicial proceeding.
 3

 4                 Plaintiff also brings forth the action as a private Attorney General
 5
      under State law to enforce important rights of all similarly disabled persons.
 6

 7    Therefore, the Plaintiff acted as a private Attorney General, through his attorney, t
 8
      enforce the Federal Regulations and applicable California Codes to ensure that
 9

10
      IRISH TIMES LLC dba DUBLIN SQUARE IRISH PUB & GRILL ("DUBLIN

11    SQUARE") is accessible for all disabled persons and not just himself.
12
                                               II. PARTIES
13

14          5.     Plaintiff alleges that Defendants are, and at all times mentioned, were
15
      a business, corporation or franchise organized and existing and/or doing business
16

17    under the laws of the State of California, IRISH TIMES LLC dba DUBLIN
18
      SQUARE IRISH PUB & GRILL, GASLAMP PORTFOLIO MANAGEMENT
19
      LLC, located at 554 Fourth Avenue, San Diego, CA 92101 (herein sometimes
20

21    known as "property"). Plaintiff alleges that Defendant is, and at all times was, the
22
      owner/operator, lessee or lessor of the facility located at the property.
23

24          6.     Plaintiff alleges that DOES 1 through 10 were at all times relevant
25
      lessors, lessees, property owners, subsidiaries, parent companies, employers,
26

27
      employees, agents, corporate officers, managers, principals and/or representatives

28    of Plaintiff. Plaintiff is unaware of the true names and capacities of Defendants


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 1
      sued herein, as DOES 1 through 10, inclusive, and therefore, sues those
 2
      Defendants by fictitious names. Plaintiff requests that the Court grant leave to
 3

 4    amend this complaint to allege the true names and capacities when determined by
 5
      whatever source. Defendant and DOES 1 through 10 are hereinafter collectively
 6

 7    referred to as "Defendants".
 8
            7.      Plaintiff alleges that Defendants at all times have been and are
 9

10
      relevant to this cause of action, the owners, franchisees, lessees, general partners,

11    limited partners, agents, employees, employers, representing partners, subsidiaries,
12
      partner companies, joint ventures and/or divisions of the remaining Defendants and
13

14    were acting within the course and scope of that relationship. Plaintiff is further
15
      informed and believes, and therefore alleges that each of the Defendants gave
16

17    consent to, ratified, and/or authorized the acts alleged of each of the remaining
18
      defendants.
19
            8.      Plaintiff is a qualified individual with a disability as provided by the
20

21    Americans with Disabilities Act of 1990, 42 USC Section 12102, and the
22
      California Unruh Civil rights Act, Sections 51, et seq. and 52, et seq., the Disabled
23

24    Persons Act, Sections 54, et seq., Govt. Code, Sections 12926, and other statutory
25
      measures that refer to the protection of the rights of"physically disabled persons".
26

27
      Plaintiff visited the public accommodations owned and operated by Defendants

28




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 1
      with the intent to purchase and/or use the goods, services, facilities, privileges,
 2
      advantages, or accommodations operated and/or owned by Defendants.
 3

 4                                            III. FACTS
 5
            9.     Plaintiff alleges that the subject facility has been newly constructed
 6

 7    and/or underwent remodeling, repairs, or alterations since 1992, and that
 8
      Defendants have failed to comply with California access standards which applied
 9

10
      at the time of each such new construction and/or alteration or failed to maintain

11    accessible features in operable working condition.
12
            10.    Plaintiff is mobility impaired and uses a wheelchair. He has been
13

14    classified as having a physical impairment, as required by 42 USC Section
15
      12102(2)(A) and requires a wheel chair for mobility and to gain access to public
16

17    establishments.
18
            11.    On or about November 21, 201 7, Plaintiff was denied full and equal
19
      access to IRISH TIMES LLC dba DUBLIN SQUARE IRISH PUB & GRILL
20

21    ("DUBLIN SQUARE"), owned and/or operated by the Defendants because the
22
      property was inaccessible to individuals belonging to the disabled community who
23

24    use wheel chairs for mobility. Full accessibility was denied due to a lack of access
25
      to the premises. DUBLIN SQUARE is a restaurant facility, a business open to the
26

27
      public, a place of public accommodation, and a business establishment open to the

28    public.


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 1
             When Plaintiff attempted to gain access to the seating located in the outside
 2
      dining area of the business, but he was not able to do so. Plaintiff asked an
 3

 4    employee ifthere was outside seating available for disabled persons. He was told
 5
      there is no additional or alternative seating. Plaintiff found no designated or
 6

 7    alternative outside seating available for disabled person(s) confined to a wheelchai
 8
      at the time of his visit to the DUBLIN SQUARE.
 9

10
             Plaintiff's wheelchair must be able to fit under the table without the barriers

11    of four-legs attached to the table, the table must be high enough to accommodate
12
      his wheelchair, and there must be clear accessibility around the table for him to be
13

14    able to maneuver the wheelchair. Therefore, Plaintiff was unable to gain full use
15
      of the outside dining area and, therefore, was barred from full access to the
16

17    facilities. He was unable to enjoy the facilities to which a disabled person is
18
      entitled.
19
             Defendants are required to make the facilities available to disabled persons
20

21    and must make any repairs necessary to accommodate these individuals. When
22
      Plaintiff attempted to gain access to the seating located in the outside dining area
23

24    of the business, but he was not able to do so. Plaintiff asked an employee if there
25
      was outside seating available for disabled persons. He was told there is no
26

27
      additional or alternative seating. Plaintiff found no designated or alternative

28




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 1
      outside seating available for disabled person(s) confined to a wheelchair at the time
 2
      of his visit to the DUBLIN SQUARE .
 3                                           •
 4           Plaintiffs wheelchair must be able to fit under the table without the barriers
 5
      of four-legs attached to the table, the table must be high enough to accommodate
 6

 7    his wheelchair, and there must be clear accessibility around the table for him to be
 8
      able to maneuver the wheelchair. Therefore, Plaintiff was unable to gain full use
 9

10
      of the outside dining area and, therefore, was barred from full access to the

11    facilities. He was unable to enjoy the facilities to which a disabled person is
12
      entitled.
13

14           Defendants are required to make the facilities available to disabled persons
15
      and must make any repairs necessary to accommodate these individuals. DUBLIN
16

17    SQUARE is currently in violations of ADA and UNRUH requirements to
18
      accommodate disabled individuals. is currently in violations of ADA and UNRUH
19
      requirements to accommodate disabled individuals.
20

21           When Plaintiff attempted to gain access to the counter area of the business,
22
      but he was not able to do so. Plaintiff asked an employee if there was counter
23

24    seating available for disabled persons that would accommodate his wheelchair. He
25
      was told there is no additional or alternative counter seating. Plaintiff found no
26

27
      designated or alternative counter seating available for disabled person(s) confined

28    to a wheelchair at the time of his visit to the DUBLIN SQUARE.


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 1
             Plaintiffs wheelchair must be able to fit under the counter without barriers,
 2
      the counter must be high enough to accommodate his wheelchair but low enough
 3

 4   to set his food and drink upon, there must be clear accessibility around the counter
 5
      for him to be able to maneuver the wheelchair. Therefore, Plaintiff was unable to
 6

 7    gain full use of the counter seating and, therefore, was barred from full access to
 8
      the facilities. He was unable to enjoy the facilities to which a disabled person is
 9

10
      entitled.

11           Defendants are required to make the facilities available to disabled persons
12
      and must make any repairs necessary to accommodate these individuals. DUBLIN
13

14    SQUARE is currently in violations of ADA and UNRUH requirements to
15
      accommodate disabled individuals.
16

17           When Plaintiff attempted to gain access to the restroom area of the business,
18
      but he was not able to do so. When he attempted to removed one of the toilet seat
19
      covers from the dispenser it was too high for him to reach. Plaintiff asked an
20

21    employee ifthere were another other restroom available for disabled persons. He
22
      was told there is no additional or alternative restroom. Plaintiff found no
23

24    designated or alternative restroom available for disabled person(s) confined to a
25
      wheelchair at the time of his visit to the DUBLIN SQUARE. Therefore, Plaintiff
26

27
     was unable to gain full use of the restroom and was barred from full access to the

28




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    1
         facilities. He was unable to enjoy the facilities to which a disabled person is
    2
         entitled.
    3


    4           Defendants are required to make the facilities available to disabled persons
    5
         and must make any repairs necessary to accommodate these individuals and is
    6

    7    currently in violations of ADA and UNRUH requirements to accommodate
    8
         disabled individuals.
    9

10
                On or about November 21, 2017, the Plaintiff mailed a letter to the DUBLIN

11       SQUARE advising that he was unable to gain access to the facility due to the lack
12
         of accessibility in the in the outside patio area. (See Exhibit "A" Attached).
13

14              Plaintiff desires to return and patronize but is barred from fully accessing the
15
         premises until Defendant(s) cure the violations. Plaintiff occasionally patronizes
16

17       business in the immediate area and he would like to return and patronize the
18
         Saffron Thai in the future.
19
                Defendants are required to modify any discriminatory policies, practices and
20

21       procedures to avoid discriminating against people with disabilities, including
22
         Plaintiff.
23

24              12.   Defendants' discrimination caused Plaintiff to suffer harmful injuries
25
         including difficulty, discomfort and embarrassment.
26

27
                13.   The harmful conduct of Defendants has and will cause great and

2   s    irreparable injury to Plaintiff in that Defendants' failure to provide full and equal


           9!Roy Mason v.        Dublin Square ADA Complaint lJS            District Court
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 1
       access to individuals with disabilities, including those to Plaintiff, denies Plaintiff
 2

       access the facilities at the Saffron Thai and, therefore, is in violation of the ADA
 3

 4     Accessibility Guidelines and/or California Title 24 Building Code requirements,
 5
       and/or other applicable Codes, statutes and/or other regulations.
 6

 7            14.   Plaintiff alleges that Defendants have continued to operate a business
 8
       open to the public which is inaccessible to him and other individuals with
 9

10
       disabilities. Pursuant to 42 USC Section 12188(a), Defendants are required to

11     remove barriers to their existing facility. Plaintiff further alleges that removal of
12
       the barriers described in this complaint is readily achievable and can be removed
13

14     with minimal difficulty or expense. Or, equivalent facilities may be provided
15
       without much difficulty or expense. Defendants are also required to modify any
16

17     discriminatory policies, practices and procedures to avoid discriminating against
18
       people with disabilities, including Plaintiff
19
             Plaintiffs attorney retained the services of WILLIAM CARTER an ADA
20

21     Specialist, to inspect the property and write a report of violations and provide
22
       photos. A detailed report with photos was prepared and filed with this complaint.
23

24     (See attached as Exhibit "B")
25
              15.   Plaintiff alleges that the discriminatory policies, practices and
26

27
       procedures, precluding him and other disabled persons from full access of the

28     public accommodations will continue to exist for any future visits, which will


        lOIR()_y Mason     v.   Dublin Square ADA Complaint US District Court
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 1
       result in future discrimination of Plaintiff and other disabled persons in violation o
 2
       the Americans with Disabilities Act.
 3

 4                            IV. FIRST CLAIM FOR VIOLATION
 5
                           OF AMERICANS WITH DISABILITIES ACT
                                 42 USC SECTION 12101, et seq.
 6

 7           16.    Plaintiff alleges and incorporates by reference each and every
 8
       allegation contained in paragraphs 1 through 15, inclusive as set forth herein.
 9

10
             17.    Plaintiff was denied full and equal access to Defendants' goods,

11     services, facilities, privileges, advantages, or accommodations within a public
12
       accommodation owned, leased and/or operated by Defendants, in violation of 42
13

14     USC Section 12182(a). Therefore, Plaintiff was subjected to discrimination and is
lo
       entitled to injunctive relief pursuant to 42 USC Section 12188 as a result of the
16

17     actions or inaction of Defendants.
18
             18.    Among other remedies, Plaintiff seeks an injunctive order requiring
19
       compliance with state and federal access laws for all access violations that exist at
20

21     the property, requiring removal of architectural barriers and modification of
22
       policies, practices, and procedures, and other relief as the Court may deem proper.
23

24           19.    Plaintiff also seeks any other order that will redress the discrimination
25
       to which he has been subjected, is being subjected and/or will be subjected.
26

27

28                         V. SECOND CLAIM FOR VIOLATION
                                OF CALIFORNIA CIVIL CODE

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 1

 2            20.     Plaintiff alleges and incorporates by reference each allegation
 3
       contained in paragraph 1 through 19, inclusive as set forth herein.
 4

 5
              21.     Plaintiff alleges that based on the facts placed in this complaint,

 6
       Defendants did, and continues to, discriminate against Plaintiff and persons
 7
       similarly situated by denying disabled persons full and equal access to the facility
 8

 9     to purchase goods, services, facilities, privileges, advantages or accommodations
10
       within a public accommodation, in violation of California Civil Code Sections 51
11

12     and 54, et seq.
13
              22.     Plaintiff alleges that Defendants' actions constitute a violation of
14

15
       Plaintiffs rights under California Civil Code Sections 51 and 54, et seq., and

16     therefore, entitling him to damages under California Civil Code Section 54.3 for
17
       each offense. Plaintiff suffered difficulty, discomfort and embarrassment because
18

19     of his denial to full and equal access as stated above. The amount of damages
20
       suffered by plaintiff is not yet determined. When the amount is determined,
21

22     Plaintiff will ask the Court for leave to amend this complaint to reflect this amount.
23
       Plaintiff is also entitled to attorneys' fees and costs.
24
              23.     The actions of Defendants were and are in violation of the Unruh
25

26     Civil Rights Act, California civil Code Sections 51 and 54, et seq., therefore
27
       entitling Plaintiff to damages suffered by him under civil code section 52 for each
28

       offense. The amount of damages suffered by plaintiff has not yet been determined.
                                                                       ······'•""""'"'"

        12 I R o y M a s o n v . D u b l i n S q u a r c A D A C o m p l a i n t lJ S D i s t r i c t C o u r t
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 1
       When the amount has been determined, Plaintiff will ask the court for leave to
 2
       amend this complaint to reflect this amount. In addition, the Plaintiff is entitled to
 3

 4     attorneys' fees and costs.
 5
             24.    The actions of Defendants are in violation of the California Civil
 6

 7     Code Sections 51, et seq. as they were willfully, deliberate and reckless in nature
 8
       for the rights of disabled persons including Plaintiff. Therefore, Plaintiff is entitled
 9

10
       to punitive and exemplary damages or treble damages pursuant to California Civil

11     Code Sections 52 and 54.3, et seq. and under common law principles.
12
             25.    Plaintiff seeks all of remedies available to him under Civil Code
13

14     Sections 51, 52, et seq., 54, 54.1, 54.2, 54.3, and any other Civil code sections that
15
       provide remedies for the discrimination suffered by Plaintiff, including damages
16

17     and attorneys' fees
18
                         VI. THIRD CLAIM FOR NEGLIGENCE PER SE
19
             26.    Plaintiff alleges and incorporates by reference each and every
20

21     allegation contained in paragraphs 1 through 25, inclusive as set forth herein.
22
             27.    At all times relevant herein, there was in effect the Americans with
23

24     Disabilities Act, California Civil Code Sections 51 and 54, et seq., all of which
25
       require that public accommodations and facilities provide services to people with
26

27
       disabilities that are equal and not inferior to the services provided to patrons who

28     are not physically disabled.


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 1
             28.     Defendants owe Plaintiff a mandatory duty to provide him full and
 2
       equal access to accommodations, advantages, facilities, privileges and services of
 3

 4     all business establishments. Plaintiff is a member of the class of individuals who
 5
       are protected under these statutes.
 6

 7           29.     Defendants' acts or omissions alleged by Plaintiff are a violation of
 8
       statutory requirements including, the Americans with Disabilities Act, California
 9

10
       Civil Code Sections 51 and 54, et seq. and public policy, therefore constituting

11     negligence per se.
12
             30.     As a proximate result of the actions or inactions of Defendants,
13

14     Plaintiff has suffered the harms that these statutes are designed to prevent.
15
             3 1.    Plaintiff requests special and general damages as well as statutory
16

17     damages according to proof, as described herein.
18
                              VII. FOURTH CLAIM FOR NEGLIGENCE
19
             32.     Plaintiff alleges and incorporates by reference each allegation stated
20

21     in paragraphs 1 through 31, inclusive as set forth herein.

                     Defendants have a duty to exercise ordinary and reasonable care as set



                     Defendants have failed to exercise ordinary and reasonable care as set




        14 [ R o y M a s on v . D u b l i n S q u are A D A C om p l a i n t   U S D i st r i c t C o u rt
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 1
              35.       As an actual and proximate result of Defendants' failure to exercise
 2
       ordinary and reasonable care, Plaintiff suffered general and special damages.
 3

 4            36.       As actual controversy exists, Plaintiff alleges that Defendants'
 5
       property is in violation of the disabled access laws of the state of California
 6

 7     including Civil Code Sections 51, 52, and 54, et seq., and Title III of the
 8
       Americans with Disabilities Act and Accessibility Regulations.
 9

10
                             VIII. FIFTH CLAIM FOR DECLATORY RELIEF

11            3 7.      Plaintiff alleges and incorporates by reference each allegation in
12
       paragraphs 1-36, inclusive, as though set forth fully herein.
13

14            38.       A controversy exists as Plaintiff alleges that Defendants' premises are
15
       in violation of the disabled access laws of the state of California including, but not
16

17
       limited to, Civil Code Sections 51, 52, and 54 et seq., and Title III of the

18
       Americans with Disabilities Act and accessibility Regulations.
19
                              IX. SIXTH CLAIM FOR INJUNCTIVE RELIEF
20

21            39.       Plaintiff alleges and incorporates by reference each and every
22
       allegation contained in paragraphs 1 through 38, inclusive, as set forth herein.
23

24            40.       Plaintiff will suffer irreparable harm unless Defendants are ordered to
25
       remove architectural barriers at Defendants' public accommodation, and/or to
26

27
       modify their policies, practices, and procedures regarding accommodating people

28




        15 I R o y   M a s o n v . D ub l i n S q ua re A D A C o m p Ia i n l U S D i st r i c t C o u r t
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 1
      with disabilities, Plaintiff has no adequate remedy at law to redress the
 2
      discriminatory conduct of Defendants.
 3

 4           41.     Plaintiff seeks injunctive relief to redress his injuries.
 5
                                           JURY TRIAL DEMAND
 6

 7                   Plaintiff hereby requests a Jury Trial in this matter.
 8
                                                 CONCLUSION
 9

10
      WHEREFORE, Plaintiff prays for a judgment against the Defendants, IRISH

11
      TIMES LLC dba DUBLIN SQUARE IRISH PUB & GRILL, GASLAMP

12
      PORTFOLIO MANAGEMENT LLC, and DOES 1through10.

13
              1.     An order enjoining Defendants from violating disabled access laws of

14    the United States and of the State of California.
15
             2.      An order that the Court declare the respective rights and duties of
16

17    Plaintiff and Defendant(s) as to the removal of architectural barriers at defendants'
18
      public accommodation and/or as to the modification of discriminatory policies,
19

20    practices, and procedures.

21
             3.      Injunctive relief, compelling Defendant(s) to comply with the
22
      Americans with Disabilities Act and the Unruh Civil Rights Act.
23

24           4.      An order awarding plaintiff actual, special and/or statutory damages
25
       for violations of his civil rights and for restitution including, but not limited to
26

27    $4,000.00 in damages for each and offense in violation of Civil Code section 51,
28
       and/or $1,000.00 for each offense in violation of Civil Code Section 54, et seq. and


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 1
       for each occasion upon which Plaintiff was denied or deterred from availing
 2
       himself of Defendant's facilities, good and services.
 3

 4             5.   An order awarding punitive and exemplary damages according to
 5
      proof.
 6

 7             6.   An order awarding up to three times the amount of actual damages
 8
      pursuant to the Unruh Civil Rights Act and the Disabled Persons Act.
 9

10
               7.   An order awarding Plaintiff reasonable attorney fees and costs.

11             8.   An order awarding such other relief as the Court deems proper.
12

13

14

10

16     Dated: November 20, 2018
17                                            MICHAEL A. TA BI, Esq.
                                              Attorney for Plaintiff
18
                                              ROY MASON
19

20

21

22

23

24

25

26

27

28




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                           EXHIBIT "A"
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     PUSLIN SQUARE IRISH PUS Al'lD GRILL
     554 4Tf:l>AVENUE
     SAN OElGO; CA 92101


     RE: Notice ofJntent to File Law&uit



     lhave visi~ your hU~iness and it is in violation of the Americans with
     Disabilities Act.

     { am in awheelohair. There are 110 Scat$ at the C()tmter for persons in
     wheelehailfli!. I wa:; ®11ied ®cess to $lt at all of your counter seating areas
     beoousc the counters. were ·toci· high. and I was i.tna}>le to reach the top. of the
     .oo®ter and eat ot dri.nk with comfort.

     There sbotild be at least a 60" wide by 19" deep clear space at me counter
     for people in wheelehairs.

     The· Ad.a sections.that a)ilply.~ Seeti.()ns:
     Counter Height 28'1~34''•ADA 4.~2.4, CA Title 24 l 122BA,
     ~ee Spacie 27"H,.30"W, l9''P· AD.A.AG 4,$2.,3 & 4. & CA title 24
     l 1~li.t3, CCluntel'l! ..- Dining; Banquet& Bar .F11cilitiel;l. -· ClC!lr Floor Sp<V4e
     30" x 48" M~ ADAAG 4.2.4, 4.32.2 & CA Title24l122B.3,
     Clear Space adj9fos Ac1.1essible ~oute.~ APAAG 4.ZA.2, 4.32;2 & CA Title
     24 ll22B.3,
     C~unter$ - C.)ounter H.eight 28''~34 ",CA. Title 24 1122B. 4,
     Clear Spa.ctr 36" Wide - CA Title 24 1122B.3 & .4,
     Clear Space 3o" x4i"- CA Titllil 24 l lS~B.4.2,ADA 4.2.4.2,
     Clear Sp!l(.)e adjoina Aecessihle Route • CA Title 24 112283 & .4.
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     I asked if wre are any other coun~r seating areas at this facility and I was
     tctld there we~ n\l other counter seating areas with the above specifications
     at thisfaeility and this is the only counter ireating attange1nent they have had
     in the p$ and that this was pennauent counter seating,

     Please add counter seating for persons in wheelchairs to sit at your table.

     There . is no outside seating for persons in wheelchairs. I was denied access
     to sit a.tall ofyour tables because there was no clear space, under the table,
     to al\<:>w room for ro.yknees .and feet, without hittit1g the pole stand, under
     thetabfo.
      There i!hould be at least 19" deep and 30" wide of clear space from the end
      edge of the t!lble to any pole stand under the table.




     Minim'Um &lqnirement 5% ~ CA Tl.t.le 24 11220.1, ADA 4. 1.3( 18),
     Clear Space 30" x48" Min- CA Title 24 lll8B.4.1, ADA 4.2.4.1,
     I<tleeSpace 27"H, 3-0?'W, l9''D -ADAAG 4:32.3 & CA Title 241122.B.3,
     TableHeililtt28;'-34" • ADA,,AG4J2A& CA Title241122BA,
     Seathtg Ael:'less Aisles Min Width 36" ~ CA Title 24 l l 2.2B. l, ADA
     4.IJ(l8),
     Equiv!Uent Services & Decor @ Acccs$ible Seath1g • ADAAG 5.4 & CA
     Title 24 l 104B.5.4,
     A!,lcessibie Seating Intt\grated w/General Seating • CA Title 24 1122B.1,
     ADA4.L3(18}

      l asklild for a table th11t was accessible and I was told there were no other
      tables. with the. above specifications at thi.s facility and this is tbe seating
      arranger.neut they have always had in the past. Please add a seat for persons
      In Wheelcl'l',iirs to sit at your table.
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     The toilf;'ll: !>!:lat covers are b:>o high, which violates Ada SectiQn AOAAG
     4.23.7 & CA Title 24 1l15~.9,2,

     If ldo not - from you within. ~Q ®ys o:!'today's ®te, in. writing, I may
     :file a. lawsuit against :rout facility,


     RO'\:'M'ASON
     4151 CASTAN;\. ST
     SAN DlEOO, CA, 92102
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                           EXHIBIT "B"
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                      AMERICANS WITH DISABILITIES ACT (ADA)
                    ACCESSIBILITY SURVEY FOR A TITLE 111 ENTITY
          This survey report addresses compliance with ADA Title Ill readily achievable
   accessibility guidelines. The information contained herein is an interpretation of the combined
   codes, regulations and laws of both, (State and Federal), California Title 24 and ADAAG,
   requirements for complying with disabled accessibility guidelines.

          The definition of a place of public accommodation is covered under Title Ill. There are
   12 categories of facilities represented in the statutory definition of public accommodation in
   section 301 (7) of the ADA. The facility surveyed falls under one of the following Categories:
   Restaurants, Bars, Hotels, Lodges, Theaters, Shopping Centers, Malls, Retail Stores,
   Museums, Libraries, Parks, Private Schools, Day Care Centers, and Other Similar Places of
   Public Accommodations.

   ADAAG REPORT DATE: SEPTEMBER 13, 2018

    ADAAG SURVEY OF:                   DUBLIN SQUARE !RISH PUB AND GRILL
                                       554 4TH AVENUE
                                       SAN DEIGO, CA 92101



    ADAAG SURVEY INVESTIGATION REPORT PERFORMED BY:

    WILLIAM CARTER, D.A.C.E.
                                                                   Signature
    ------------------------------------------------------------------------------------------------------------------------------
    ------------------------------------------------------------------------------------------------------------------------------
    REPORT ISSUED TO:                  MICHAEL A TAIBI, ESQ, SBN:160041
                                       TAIBI AND ASSOCIATES, APC
                                       750 B STREET, SUITE 2510
                                       SAN DIEGO, CA 92101
                                       Telephone: (619) 354-1798




                              AMERICANS WITH DISABILITIES ACT (ADA)                                                             1
                            ACCESSIBILITY SURVEY FOR A TITLE III ENTITY
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   I.     INTRODUCTION




   DAOLIAM INTERNATIONAL

          Daoliam lnternational's, "Mission" under the Americans with Disabilities Act (ADA)
   Accessibility Survey For A Title Ill Entity, is to provide project compliance architectural and
   management consulting services to individual businesses and governmental agencies
   interested in bringing about compliance with the Americans with Disabilities Act (ADA) and
   Federal Laws, to build a partnership between the physically challenged disabled persons and
   the business communities, and to promote a full and unrestricted participation in society for
   persons with disabilities. Daoliam International is able to accomplish the above through various
   mediums such as Education, Mediation and Litigation.

           Employees and or Agents of Daoliam International have provided ADA project
   compliance, architectural and management consulting services to the following, but not limited
   to, entities: San Diego International Airport, San Diego Port Authority, HMS Host, General
   Dynamics, Home Savings of America, Wells Fargo Bank, Greyhound Bus Station, Marriott
   Hotel, Brown Field, Montgomery Field, Restaurants, Bars, Hospitals, Medical Facilities, Retail
   Department Stores, Commercial Office Buildings, etc.

           In addition, Daoliam lnternational's President, William Carter, has Experience and/or
    Degrees/Licenses in the following fields: Mechanical Engineering, Civil Engineering, Drafting
    Engineering, Construction, Demolition, Retro-Fit Bridges, Joint Seal Bridges & Buildings,
    Energy Conservation Analysis, Design of ADA Spec Homes, Manufactured Homes,
    Import/Export various Goods/Services and Law.

            William Carter, Disabled Accessibility Compliance Expert, has performed thousands of
    ADA Surveys/Reports in the 3th and gth Circuit. William's expertise in the interpretation of the
    legal and technical provisions of disabled accessibility standards is regularly utilized by law
    firms for the resolution of complaints, alleged issues of non-compliance and lawsuits. He has
    provided expert opinion to help solve 1OO's of cases.

           The information contained herein represents Daoliam lnternational's interpretation of the
    combined codes and laws regulating both State of California and the Federal requirements for
    complying with disabled accessibility guidelines. Though Daoliam International has made a
    good faith effort to provide you with the latest and most accurate information available, the
    information contained in this report is subject to change without notice and does not represent
    a commitment on the part of Daoliam .International as the field of disabled accessibility remains
    to be a dynamic and constantly changing domain, changes are periodically made in this field.
    Final verification and approval for each project must be secured from respective regulatory
    authorities.




                        AMERICANS WITH DISABILITIES ACT (ADA)                                          3
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   II. SCOPE OF SURVEY
   ======================================================================
   ======================================================================
   A. EXISTING FACILITY

          This facility is a restaurant. Section 42 USC 12818(7)(a-g) provides that a restaurant or
   other place which sells food or drink is a public accommodation. This is a survey of the
   restaurant, restrooms and parking lot.

          This facility appears to have been built prior to the enactment of the ADA (1992
   Effective Date. This building appears not to be an altered existing facility as defined under the
   ADA. There are no visible exterior or interior tenant improvements, relating to the facility.

           Under Department of Justice (DOJ) Title Ill, Technical Manual 111-4.4200, 28 CFR
   36.201; 28 CFR 36.203; 28 CFR 36.304; 28 CFR 36.305, "The ADA establishes different
   standards for existing facilities, altered facilities and new construction. In existing facilities,
   where retrofitting may be expensive, the requirement to provide access is less stringent than it
   is in new construction and alterations, where accessibility can be incorporated in the initial
   stages of design and construction without a significant increase in cost."

          Since January 26, 1992, Architectural barriers must be removed in a public area of an
   existing facility when said removal is "readily achievable'', when it is easily accomplished and
   can be carried out or performed without much difficulty or expense.

          The Department of Justice regulation contains a list of 21 examples of modifications that
    may be readily achievable:

          1. Installing ramps; (3.6.1)

          2. Making curb cuts in sidewalks and entrances; (3.6.2)

          3. Repositioning shelves; (3.6.3)

          4. Rearranging tables, chairs, vending machines, display racks, and other furniture;

              (3.6.4)

          5. Repositioning telephones; (3.6.5)

          6. Adding raised markings on elevator control buttons; (3.6.6)

          7. Installing flashing alarm lights; (3.6.7)

          8. Widening doors; (3.6.8)



                          AMERICANS WITH DISABILITIES ACT (ADA)                                          4
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         9. Installing offset hinges to widen doorways; (3.6.9)

         10. Eliminating a turnstile or providing an alternative accessible path; (3.6.10)

         11. Installing accessible door hardware; (3.6.11)

         12. Installing grab bars in toilet stalls; (3.6.12)

         13. Rearranging toilet partitions to increase maneuvering space; (3.6.13)

         14. Insulating lavatory pipes under sinks to prevent burns; (3.6.14)

         15. Installing a raised toilet seat; (3.6.15)

         16. Installing a full-length bathroom mirror; (3.6.16)

         17. Repositioning the paper towel dispenser in a bathroom; (3.6.17)

         18. Creating designated accessible parking spaces; (3.6.18)

         19. Installing an accessible paper cup dispenser at an existing

            inaccessible water fountain; (3.6.19)

         20. Removing high pile, low density carpeting; or (3.6.20)

         21. Installing vehicle hand controls. (3.6.21)




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                     ACCESSIBILITY SURVEY FOR A TITLE III ENTITY
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   =====================================================================
   =====================================================================
   B. Existing Facilities - Part B

   Element-by-Element Safe Harbor

   If your business facility was built or altered in the past 20 years in compliance with the 1991
   Standards, or you removed barriers to specific elements in compliance with those Standards,
   you do not have to make further modifications to those elements-even if the new standards
   have different requirements for them-to comply with the 2010 Standards. This provision is
   applied on an element-by-element basis and is referred to as the "safe harbor." The following
   examples illustrate how the safe harbor applies:

      1. The 201 O Standards lower the mounting height for light switches and thermostats from
         54 inches to 48 inches. If your light switches are already installed at 54 inches in
         compliance with the 1991 Standards, you are not required to lower them to 48 inches.

      2. The 1991 Standards require one van accessible space for every eight accessible
         spaces. The 2010 Standards require one van accessible space for every six accessible
         spaces. If you have complied with the 1991 Standards, you are not required to add
         additional van accessible spaces to meet the 201 O Standards.

      3. The 201 O Standards contain new requirements for the input, numeric, and function keys
         .g. "enter," "clear," and "correct") on automatic teller machine (ATM) keypads. If an
         existing ATM complies with the 1991 Standards, no further modifications are required to
         the keypad.

   If a business chooses to alter elements that were in compliance with the 1991 Standards, the
   safe harbor no longer applies to those elements. For example, if you restripe your parking lot,
   which is considered an alteration, you will now have to meet the ratio of van accessible spaces
   in the 2010 Standards. Similarly, if you relocate a fixed ATM, which is considered an
   alteration, you will now have to meet the keypad requirements in the 2010 Standards.


   The revised ADA rules and the 2010 Standards contain new requirements for elements in
   existing facilities that were not addressed in the original 1991 Standards. These include
   recreation facilities such as swimming pools, play areas, exercise machines, miniature golf
   facilities, and bowling alleys. Because these elements were not included in the 1991
   Standards, they are not subject to the safe harbor. Therefore, on or after March 15, 2012,
   public accommodations must remove architectural barriers to elements subject to the new
   requirements in the 2010 Standards when it is readily achievable to do so. For example, a
   hotel must determine whether it is readily achievable to make its swimming pool accessible to
   people with mobility disabilities by installing a lift or a ramp as specified in the 201 O Standards



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   COMPLIANCE DATES UPDATED
   =======================================================================
   =======================================================================

                          Compliance Dates and Applicable Standards for
               Readily Achievable Barrier Removal, New Construction, and Alterations


   Compliance Date                           Applicable Standard
   Until March 15, 2012                      1991 Standards or 2010 Standards
   On or After March 15, 2012                2010 Standards


   Priorities for Barrier Removal

   Understanding how customers arrive at and move through your business will go a long way in
   identifying existing barriers and setting priorities for their removal. Do people arrive on foot, by
   car, or by public transportation? Do you provide parking? How do customers enter and move
   about your business? The ADA regulations recommend the following priorities for barrier
   removal:
           LI Providing access to your business from public sidewalks, parking areas, and public
              transportation;
           LJ Providing access to the goods and services your business offers;
           n Providing access to public restrooms; and
           o Removing barriers to other amenities offered to the public, such as drinking fountains.




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   Ill. Methodology
   =======================================================================
   =========~=============================================================


   This ADA survey uses the Methodology employed by the Americans With Disabilities Act
   (ADA) Accessibility Guidelines for Building and Facilities (ADAAG), part 36 Standards for
   Accessible Design. An additional reference is Title Ill Non-Discrimination on the basis of
   Disability by the Public Accommodations and Commercial Facilities (ADA Handbook) and the
   Title Ill Technical Assistance Manual Covering Public Accommodations and Commercial
   Facilities.


    1.    Americans With Disabilities Act (ADA) Accessibility Guidelines for Building and Facilities
          ADAAG, part 36 Standards for Accessible Design;

    2.    Americans With Disabilities Act, ADA Guide for Small Business, U.S. Small Business
          Administration Office of Entrepreneurial Development US Department of Justice Civil
          Rights Division;

    3.    Title Ill Non-Discrimination On The Basis of Disability By Public Accommodations and In
          Commercial Facilities (ADA Handbook) and the Title Ill Technical Assistance Manual
          Covering Public Accommodations and Commercial Facilities;

    4.    The Legislative history of The Americans with Disabilities Act;

    5.    The Americans with Disabilities Act Compliance Manual;

    6.    Legal Rights of Persons with Disabilities: An Analysis of Federal Law;

    7.    California Disabled Accessibility Guidebook 2000;

    8.    California Title XXIV;

    9.    The Americans with Disabilities Act Accessibility Guidelines Tech Sheet Series.

    1O.   Accessible Rights-Of-Way; A Design Guide;

    11.   The Americans with Disabilities Act Title Ill Technical Assistance Manual;

    12.   California Accessibility Reference Manual 2nd Edition

    13.   California Accessibility Reference Manual   4th   Edition




                        AMERICANS WITH DISABILITIES ACT (ADA)                                      8
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   IV      COPYRIGHT



                                           Copyright Act of (1976)
                                            Copyright Act (2001)




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   DAOLIAM INTERNATIONAL
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   developed by DAOLIAM INTERNATIONAL. These materials may be reproduced for
   educational or training events provided by DAOLIAM INTERNATIONAL for the promotion of
   the Americans with Disabilities Act and Compliance of said act.

   This report contains the professional opinions and ideas of its authors and is designed to
   provide useful advice to businesses interested in removing barriers that may interfere with the
   full inclusion of persons with disabilities.

    Any Americans with Disabilities Act information disseminated on behalf of DAOLIAM
    INTERNATIONAL by way of training, seminars, written materials and individual consultations,
    is obtained from the US Department of Labor & the US Department of Justice, and sources are
    deemed reliable. There is no reason to doubt its accuracy, but it is not guaranteed, and it is
    recommended that legal counsel with experience in the application of the ADA be consulted for
    specific circumstances.

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   V. NO. VIOLATIONS

                               TOTAL NUMBER OF VIOLATIONS


         Seating - Dining, Banquet & Bar Facilities - (Fixed Seating)
               (CA Title 24 1122B.1) (ADA 4.1.3(18)

         Seating - Dining, Banquet & Bar Facilities - (Min Requirement 5%)
               (CA Title 24 1122B.1) (ADA 4.1.3(18)

         Seating - Dining, Banquet & Bar Facilities - (Clear Space 30" x 48" Min))
               (CA Title 24 1118B.4.1) (ADA 4.2.4.1)

         Seating - Dining, Banquet & Bar Facilities - (Knee Space 27"H, 30'W, 19"D)
                (ADAAG 4.32.3 & CA Title 24 1122B.3)

         Seating - Dining, Banquet & Bar Facilities - (Table Height 28"-34")
               (ADAAG 4.32.4 & CA Title 24 1122B.4)

         Seating - Dining, Banquet & Bar Facilities - (Access Aisles Min Width 36")
               (CA Title 24 1122B.1) (ADA 4.1.3(18)

         Seating - Dining, Banquet & Bar Facilities - (Equivalent Services & Decor@
         Accessible Seating ), (ADAAG 5.4 & CA Title 24 1104B.5.4)

         Seating - Dining, Banquet & Bar Facilities - (Accessible Seating Integrated w/General
         Seating)
               (CA Title 24 1122B.1) (ADA 4.1.3(18)

         Counters - Dining, Banquet & Bar Facilities - (Counter Height 28"-34")
               (ADA 4.32.4) (CA Title 24 1122B.4)

         Counters - Dining, Banquet & Bar Facilities - (Knee Space 27"H, 30"W, 19"D)
               (ADAAG 4.32 .. 3 & 4 & CA Title 24 1122B.3)

         Counters - Dining, Banquet & Bar Facilities - (Clear Floor Space 30" x 48" Min))
               (ADAAG 4.2.4, 4.32.2 & CA Title 24 1122B.3)

         Counters - Dining, Banquet & Bar Facilities - (Clear Space adjoins Accessible Route)
               (ADAAG 4.2.4.2, 4.32.2 & CA Title 24 1122B.3)

         Counters - (Counter Height 28"-34")
               (CA Title 24 1122B.4)


                      AMERICANS WITH DISABILITIES ACT (ADA)                                     10
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         Counters (Clear Space 36" Wide)
               (CA Title 24 1122B.3 & .4)

         Counters (Clear Space 3o" x 48")
               (CA Title 24 1188B.4.2) (ADA 4.2.4.2)

         Counters (Clear Space adjoins Accessible Route)
               (CA Title 24 1122B.3 & .4)

         Tableware & Condiments - Dining, Banquet & Bar Facilities - (w/in Reach Ranges)
               (ADAAG 5.6 & CA Title 24 1104B.5.6)

         Tableware & Condiments - Dining, Banquet & Bar Facilities - (Table Tops 28"-34")
               (ADAAG 5.6 & CA Title 24 1104B.5.6)

         Bathroom - Proper Directional Signage to Accessible Restroom
               (CA Title 24 1117B.5.8.1.2)

         Bathroom - International Symbol of Accessibility at Accessible Restroom
               (ADA 4.30.6) (CA Title 24 1117B.5.7)

         Bathroom - International Symbol of Accessibility - Pictogram Min 6" High
               (ADA 4.30.6) (CA Title 24 1117B.5.7)

         Bathroom - International Symbol of Accessibility- Verbal Description Below
               (ADAAG 4.30.4 & CA Title 24 1117B.5.5.2)

         Raised Braille Characters - (Restroom Wall Signage)
               (ADAAG 4.30.4 & CA Title 24 1117B.5.6.1 & .2)

         Wall Mount Signage (Latch Side of Door)
               (ADAAG 4.1.2(7)(d) and CA Title 24 1117B.5.1.1 & .5.6.3)

         Wall Mount Signage (60 inches from the floor)
               (ADAAG 4.30.6 & CA Title 24 1117B.5.9)


         Door Mount Signage (Men's & Women's)
               (CA Title 24 1115B.5)

         Door Signage (Color Distinctively Contrast w/Door Color)
               (CA Title 24 1115B.5)

         Accessories/Fixtures - Proper Height (Toilet Seat Covers)
               (ADAAG 4.23.7 & CA Title 24 1115B.9.2)


                      AMERICANS WITH DISABILITIES ACT (ADA)                                 11
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         Flush Valve - Correct Side
               (ADAAG 4.16.5 & CA Title 241502.0)

         Stall Door (Opens Outward)
                (ADAAG 4.23.4 ADA 4.17.3 & CA Title 24 1115B.7.1.4)

         Hardware - Handle Inside/Outside Compartment Door
              (ADA4.13.9 & CA Title 2411158.3.1.4.5, 1115B.7.1.4)




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   VI.      REPORT OF FINDINGS
   =======================================================================
   A.    Accessible Entry
   B.    Access to Goods and Services
   C.    Access to Restrooms
   D.    Any Other Measure Necessary
   =======================================================================

                                         FACILITY EVALUATION


   The initial step in achieving compliance with Title Ill is to evaluate a facility and it's operations.
   All areas of the facility should be examined and evaluated as to accessibility. This ADA
   Survey Report examines the following four principle elements:

            1.   ACCESSIBLE ENTRY;
            2.   ACCESS TO GOODS AND SERVICES;
            3.   ACCESS TO RESTROOMS;
            4.   ANY OTHER MEASURES NECESSARY.


   A. ACCESSIBLE ENTRY

   Accessible Entry: People with disabilities should be able to arrive on the site, approach the
   building, and enter the building as freely as everyone else. At least one path of travel should
   be safe and accessible for everyone, including people with disabilities.

   ADAAG 4.6.2 Location. Accessible parking spaces serving a particular building shall be
   located on the shortest accessible route of travel from adjacent parking to an accessible
   entrance. In parking facilities that do not serve a particular building, accessible parking shall be
   located on the shortest accessible route of travel to an accessible pedestrian entrance of the
   parking facility. For a building with multiple accessible entrances with adjacent parking,
   accessible parking spaces shall be dispersed and located closest to the accessible entrances.

    N/A

    A(2l. WALKS, CURBS & RAMPS

    N/A


    A(3)    ENTRANCES. CORRIDORS & STAIRS

    N/A



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   B.     ACCESS TO GOODS & SERVICES


          DINING, BANQUET AND BAR FACILITIES

                General Rule: Dining, banquet and bar facilities shall be made accessible to
   persons with disabilities. (ADAAG 5.1 & CA Title 24 1104B.5.1)

           In NEW CONSTRUCTION, all dining areas, including raised or sunken dining areas,
   loggias, and outdoor seating areas, shall be accessible. (ADAAG 5.4) New Construction:
   When the Last application for a building permit or permit extension for the facility is (was)
   certified to be complete be a state, county, or local government BEFORE January 26, 1992.


           ACCESSIBILITY FOR EXISTING BUILDINGS (Federal RegisterNol.56, No.
   144/Friday, July 26, 1991 I Rules and Regulations (c) To the maximum extent feasible. The
   phrase "to the maximum extent feasible," as used in this section, applies to the occasional
   case where the nature of an existing facility makes it virtually impossible to comply fully with
   applicable accessibility standards through a planned alteration. In these circumstances, the
   alteration shall provide the maximum physical accessibility feasible. Any altered features of
   the facility that can be made accessible shall be made accessible. If providing accessibility in
   conformance with this section to individuals with certain disabilities (e.g., those who use
   wheelchairs) would not be feasible, the facility shall be made accessible to persons with other
   types of disabilities (e.g., those who use crutches, those who have impaired vision or hearing,
   or those who have other impairments).


    New Construction and Alterations

   The ADA requires that all new facilities built by public accommodations, including small
   businesses, must be accessible to and usable by people with disabilities. The 2010 Standards
   lay out accessibility design requirements for newly constructed and altered public
   accommodations and commercial facilities. Certain dates in the construction process
   determine which ADA standards-the 1991 Standards or the 2010 Standards-must be used.

    If the last or final building permit application for a new construction or alterations project is
    certified before March 15, 2012, businesses may comply with either the 1991 or the 2010
    Standards. In jurisdictions where certification of permit applications is not required, businesses
    can also choose between the 1991 or 2010 Standards if their jurisdiction receives their permit
    application by March 15, 2012. Businesses should refer to their local permitting process.
    Where no permits are required, businesses may comply with either the 1991 or 201 O
    Standards if physical construction starts before March 15, 2012. Start of physical construction
    or alterations does not mean the date of ceremonial groundbreaking or the day demolition of
    an existing structure commences. In this situation, if physical construction starts after March
    15, 2012, the small business must use the 2010 Standards


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          FIXED, MOVABLE or BUILT-IN SEATING, TABLES AND COUNTERS

                 General Rule: Where a single counter contains more than one transaction
   station, such as (but not limited to) a bank counter with multiple teller windows or retail sales
   counter with multiple cash register stations, at least five percent (5%), but never less than one,
   of each type of station shall be located at a section of counter that is at least 36 inches long
   and no more than 28" - 34" high.

   The failure to provide accessible tables (where tables are provided in Restaurants, Cafeterias,
   Snack Bars, and Vending Areas), is an ongoing one. Not only do moveable non-fixed furniture
   type tables have to meet the 5% requirement specified under Section 5 and Section 4.32, fixed
   tables also have to be accessible. It is not correct to assume that if moveable non-fixed
   furniture type tables are provided that meet the requirements of Section 4.32, that fixed tables
   do not have to comply. Both moveable AND fixed tables must meet the 5% requirement
   independently.

   Simply Stated: Every area where there is seating for Non-Disabled Persons, there MUST
   be seating for Disabled Persons. If there is seating on the inside of a facility for
   customers, there must be disabled seating on the inside of the facility for disabled
   customers. If there is seating on the outside of the facility for customers, there must be
   seating on the outside for disabled customers. There are no exceptions!

    Note: Tabletop support posts and their legs must not obstruct the knee clearance required
    under Section 4.32.




                                       This area must be clear of
                  _30" -Shown
                                   everything. You cannot have the
                                   base/legs of the table in this area.
                                     The wheels of the wheelchair
                                    will hit the base, preventing full
                                                  access



                                            SEATING AREA


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   •      AREA OF CONCERN
               Is there enough seating for the disabled in this facility?

         ADAAG 5.1 & CA Title 24 11048.5.4 Accessible Seating 5% Minimum
               At least 5%, but not less than one of the seating spaces in each functional area is
   accessible.


                                                                                            19"min



                                     - - - - 30"min Table Top




                                            This area must be clear of
                                        everything. You cannot have the
                                        base/legs of the table in this area.
                                        The wheels of the wheelchair, or
                                         the disabled's feet, will hit the
                                           base, preventing full access



           FINDINGS OF INVESTIGATION
                 Here, there are no accessible seats for the disabled in this facility.

            CONCLUSION - VIOLATION
                Since there are no accessible seats for the disabled in this facility, they are in
    violation.




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   *       AREA OF CONCERN
                  Is there enough clear space at the seating area for persons with disabilities in
   this facility?

   ADAAG 4.2.4.1 & CA Title 24 11228.3 Clear Space 30" x 48" @Disabled Seating Area
       Minimum 30" x 48" clear space is provided at the designated disabled Seating Area.




                                                 30" Pc uired
                                                 32' Shown




                                            This area must be clear of
                                        everything. You cannot have the
                                        base/legs of the table in this area.
                                        The wheels of the wheelchair, or
                                         the disabled's feet, will hit the
                                           base, preventing full access




                    <:::i AC'CE'Ss~aLE           ¢      PATH      DF" TRAVEL


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               FINDINGS OF INVESTIGATION
                     Here, there is no clear space for the designated disabled in this facility.

               CONCLUSION -VIOLATION
                       Since there is no clear space for the designated disabled in this facility, they
        are in violation.
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   *        AREA OF CONCERN
                   Is there enough knee space at the seating area for persons with disabilities in
   th is facility?

          ADAAG 4.32.3 & CA Title 24 11228.3 Knee Space 27"H, 30"W, 19"0
              Knee space at tables is at least 27" high, 30" wide and 19" deep.




                                                   30"R. ult<d




                                             The table designated for the
                                             disabled must be at least 27"
                                           high so that the wheelchair user,
                                             who is in the wheelchair, has
                                               enough room, to roll their
                                           wheelchair, to the table, and not
                                           hit their knees on the edge of the
                                                          table



               FINDINGS OF INVESTIGATION
                     Here, there is no knee space for the designated disabled in this facility.

                CONCLUSION -VIOLATION
                       Since there is no knee space for the designated disabled in this facility, they
        are in violation.




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   *       AREA OF CONCERN
                Is the table area for persons with disabilities at the proper height in this facility?

           ADAAG 4.32.4 & CA Title 24 11228.4 Knee Space 27"H, 30"W, 19"0
               Knee space at tables is at least 27" high, 30" wide and 19" deep.




                                        The table designated for the
                                      disabled must not be higher than
                                        34", so that the disabled can
                                          reach their food or drink.




              FINDINGS OF INVESTIGATION
                    Here, there is no table designated for the disabled at this location.

               CONCLUSION - VIOLATION
                   Since there is no table designated for the disabled at this location, they are in
       violation.




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   *     AREA OF CONCERN
                Is there equivalent services and decor in the designated area for disabled
   persons within this section of the facility?

         ADMG 5.4 & CA Title 24 11048.5.4 Equivalent Services & Decor @ Accessible
   Seating
                Equivalent services and decor are provided at accessible seating spaces as for
   the general public.
                                                                      All tables must look the
                                                                      SAME for both
                                                                      disabled and non-
                                                                      disabled customers

                                                                                     You can't have one
                                                                                     style for regular
                                                                                     customers and another
                                                                                     style for disabled
                                                                                     customers.

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                                                                                     The table designated for
                                                                                     the disabled persons
                                                                                     MUST be in the same
          T- 'r:::===::i'                                                            location as the other
                                                                                     customers. This
                                                                                     includes inside, outside,
                                                                                     raised/sunken areas as
                                                                                     well as counters.

                                                                                     You CANNOT put the
                                                                                     disabled persons in the
                                                                                     corner or by themse Ives
            The disabled cannot be forced to sit at the end of a table, with         or facing away from the
            their backs to the aisle, or sit in the aisle, in the path of traffic,   other customers.
            while other customers sit facing each other.

            FINDINGS OF INVESTIGATION
                   Here, there are no tables designated for the disabled as for the general public in
    this facility.

            CONCLUSION - VIOLATION
                     Since there are no tables designated for the disabled as for the general public in
    this facility, they are in violation.




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    *       AREA OF CONCERN
                   Is the accessible seating area integrated within the general seating area within
    this facility?

           ADAAG 5.4 & CA Title 24 11048.5.4 Accessible Seating Integrated w/General Seating
    Area
                  Accessible seating spaces are integrated with general seating and allow a
    reasonable selection of seating area and avoid having one area specifically highlighted as the
    area for persons with disabilities.

            FINDINGS OF INVESTIGATION
                   Here, there are no tables designated for the disabled as for the general public in
    this facility.

            CONCLUSION - VIOLATION
                     Since there are no tables designated for the disabled as for the general public in
    this facility, they are in violation.




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                                           COUNTER AREA

   *       AREA OF CONCERN
                  Is the top of the counter in the accessible seating area at the proper height within
   this facility?

           ADAAG 4.23.3 & CA Title 24 11228.4 Counter Height 28"-34"
                   In accessible seating areas the counter top height is between 28" - 34" above
   the finish floor.




          FINDINGS OF INVESTIGATION
                 Here, the accessible seating areas the counter top height is not between 28" -
    34" above the finish floor in this facility.

          CONCLUSION -VIOLATION
                 Since the accessible seating areas the counter top height is not between 28" -
    34" above the finish floor in this facility, they are in violation.




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   *      AREA OF CONCERN
               Is there enough knee clearance under the counter in the accessible
    seating area within this facility?

          ADAAG 4.32.4 & CA Title 24 11228.3 Knee Clearance 27"H, 30"W, 19"0
                 In accessible seating areas the knee clearance is a minimum 27" high, 30" wide
    and 19" deep.




          FINDINGS OF INVESTIGATION
                Here, the knee clearance in the accessible seating area is not above the
    minimum 27" high, 30" wide and 19" deep in this facility.

          CONCLUSION - VIOLATION
                Since the knee clearance in the accessible seating area is not above the
    minimum 27" high, 30" wide and 19" deep in this facility, they are in violation




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   *     AREA OF CONCERN
                  Is there enough clear floor space under the counter in the accessible seating
   area within this facility?

          ADAAG 4.2.4 & CA Title 24 1122B.3 Clear Floor Space 30" x 48"
              In accessible seating areas the clear floor space is a minimum of 30" x 48".




          FINDINGS OF INVESTIGATION
                Here, the clear floor space in the accessible seating area is not above the
    minimum 30" x 48" in this facility.

          CONCLUSION -VIOLATION
                Since the clear floor space in the accessible seating area is not above the
    minimum 30" x 48" in this facility, they are in violation.




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   *      AREA OF CONCERN
                 Is there enough clear floor space adjoining an accessible route from the counter
   in the accessible seating area within this facility?

           ADAAG 4.2.4.2 & CA Title 24 11228.3 Clear Space Adjoins Accessible Route
               In accessible seating area a clear floor space adjoins an accessible route.

           FINDINGS OF INVESTIGATION
                 Here, there is not a clear floor space adjoining an accessible route in this facility.

           CONCLUSION -VIOLATION
                   Since there is not a clear floor space adjoining an accessible route in this facility,
    they are in violation.



    C.     ACCESS TO RESTROOMS

           C(1). Public Restrooms

                           IDENTIFICATION SYMBOLS (for Sanitary Facilities)

           Special Note: Sanitary facilities are required to provide (2) Two separate types of
    sign age; (1) one type located on the doorway to the facility, and another type mounted on the
    wall adjacent to the latch side of the door.

            Special Note: Where there is no wall space on the latch side, including at double leaf
    doors, signs shall be placed on the nearest adjacent wall, preferably on the right. California
    Title 24 Section 11178.5.9 and ADAAG Section 4.30.6

           ADAAG 4.1.3(11) & CA Title 24 11158.1 (Restroom Facilities General Requirement)
                   When sanitary facilities are provided that serve buildings, facilities or portions of
    buildings or facilities that are required to be accessible, then each such sanitary facility shall be
    accessible to persons with disabilities.

           CA Title 24 11158.2 Separate Facilities
                    Where separate facilities are provided for non-disabled persons of each sex,
    separate facilities shall be provided for persons with disabilities of each sex also. Where
    unisex facilities are provided for persons without disabilities, at least one unisex facility shall be
    provided for persons with disabilities within close proximity to the non-accessible facility.




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          *       AREA OF CONCERN
                         Does the bathroom/restroom have the proper signage, which provides
          direction to or information about access to its facilities?

                  ADAAG Building Signage. Signs which designate permanent rooms and spaces,
          shall comply with 4.30.1, 4.30.4, 4.30.5, and 4.30.6. Other signs which provide direction
          to, or information about, functional spaces of the building shall comply with 4.30.1,
          4.30.2, 4.30.3, and 4.30.5. Elements and spaces of accessible facilities which shall be
          identified by the International Symbol of Accessibility and which shall comply with 4.30.7
          are:
    (a)   Parking Spaces designated as reserved for individuals with disabilities;
    (b)   Accessible Passenger Loading Zones;
    (c)   Accessible Entrances when not all are accessible, (inaccessible entrances shall have
          directional signage to indicate the route to the nearest accessible entrance);
    (d)   Accessible Toilet and Bathing Facilities when not all are accessible.

          CA TITLE 24 SECTION 1117B.5.1.1.1 & .5.6.3
                 The international symbol of accessibility is installed on the wall adjacent to the
          latch side of the door. The border dimension of this pictogram shall be a minimum of 6
          inches in height.

          FINDINGS OF INVESTIGATION
                Here, there are NO such signs anywhere.

          CONCLUSION- VIOLATION
                  By NOT having any signage in the building which provided direction to or
          information about access to any facilities which could be used by persons with
          disabilities, they are in violation




    *      AREA OF CONCERN
                Are the restroom international symbol of accessibility signs centered on the wall
    correctly?

           ADAAG 4.30.6 & California Title 24 Section 1117B.5.9 Mounting Location and Height.
    Where permanent identification is provided for rooms and spaces, signs shall be insulated on
    the wall adjacent to the latch side of the door. Where there is no wall space to the latch side of
    the door, including at double leaf doors, signs shall be placed on the nearest adjacent wall.
    Mounting height shall be 60 inches (125 mm) above the finish floor to the centerline of the
    sign. Mounting location for such signage shall be so that a person may approach within 3
    inches (76 mm) of signage without encountering protruding objects or standing within the
    swing of a door.


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              Sunitary facilities are required to. Provid¢ two separate types ..l.)f '•i~age; ulle t)'~ ll>cateil
       on .the doorway~ ~lie fa<>illty, a.nil a11i>tlter.'t'f.P'! monnteil •011 th<> wall•ruljaeent t<>.the Iitlciili side of
       the door.
       1JJ Note: Wall signs n""d only use mised..\etters and 3raiile • """ below




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                           UPPERCASE
                          ·CHARACTERS



          FINDINGS OF INVESTIGATION
                 There are NO signs centered on the wall that are 60 inched from the floor that
    meet this requirement.

          CONCLUSION - VIOLATION
                Since there are NO such signs on the wall that are 60 inches from the floor that
    meet the above requirement, they are in violation of the above mentioned section.




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   *       AREA OF CONCERN
                Does the facility have wall mounted sign age located on the latch side of the
   door?

           ADAAG 4.1.2(7)(d) & CA Title 24 11178.5.1.1 & .5.6.3 (Wall Mount Signage)
                  The international symbol of accessibility is installed on the wall adjacent to the
   latch side of the door.
                  NOTE: Where there is no wall space on the latch side, including at double leaf
   doors, signs shall be placed on the nearest adjacent wall, preferably on the right. ADAAG
   4.30.6 & CA Title 24 11178.5.9.


           FINDINGS OF INVESTIGATION
                 There are NO signs on the walls of this facility.

           CONCLUSION - VIOLATION
               Since there are NO signs on the walls, they are in violation.




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   *      AREA OF CONCERN
               Is the door mounted signage proper and correct?

          CA Title 24 11158.5 (Door Mount Signage)
                 Men's - Equilateral triangle Y. inch thick with edges 12 inch long and a vertex
   pointing upward.
                 Women's - 12 inch diameter circle Y. inch thick.

          FINDINGS OF INVESTIGATION
                Here, the signs do not meet the above requirement, because there are no signs.

          CONCLUSION-VIOLATION
              Since there are no signs, they are in violation.




    *      AREA OF CONCERN
                  Does the color of the current bathroom signage distinctively contrast with the
    color of the door?

          CA Title 24 11158.5 (Color Distinctively Contrast w/Door Color)
                  The color and contrast of the sign distinctively contrasts with the color and
    contrast of the door.

           FINDINGS OF INVESTIGATION
                 Here, the color of the door does NOT distinctively contrast with the color of the
    sign, because there is no sign.

           CONCLUSION -VIOLATION
               Since there is no sign, they are in violation.




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   *       AREA OF CONCERN
                  Is there a sign on the latch side of the door that is accompanied by Grade 2
   Braille for persons with disabilities, sight impaired persons.

          (CA Title 24 1117B.5.5.1) (ADA 4.30.4) (Raised Braille- Bathroom Signage)
                 Raised and Braille Characters and pictorial Symbol Signs. (Pictograms): Letters
   and numerals shall be raised 1/32 inches, upper case, sans serif or simple serif type and shall
   be accompanied with Grade 2 Braille. Raised characters shall be at least 5/8 inches (16 mm)
   high, but no higher than 2 inches (50 mm).

         FINDINGS OF INVESTIGATION
               Here, there are NO signs with the above referenced characteristics.

         CONCLUSION -VIOLATION
                Since there are NO signs at this location with the proper characteristics listed
   above, they are in violation.




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                         ACCESSORIES IN SANITARY FACILITIES


   *      AREA OF CONCERN
                 Are the operable parts (including coin slots) of all fixtures or accessories located
   at the proper heights.

          ADAAG 4.23.7 & CA Title 2411158.9.2
                 Operable parts (including coin slots) of all fixtures or accessories are located a
   maximum or 40 inches above floor (i.e. soap dispensers, towels, toilet seat covers, auto-
   dryers, sanitary napkin dispensers, waste receptacles, etc.).




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                        Reach Ranges for Dispensers/Receptacles
                                                           ...


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   *      AREA OF CONCERN
                 Are the operable parts (including coin slots) of all fixtures or accessories located
   at the proper heights.

          ADAAG 4.23.7 & CA Title 24 11158.9.2
                 Operable parts (including coin slots) of all fixtures or accessories are located a
   maximum or 40 inches above floor (i.e. soap dispensers, towels, toilet seat covers, auto-
   dryers, sanitary napkin dispensers, waste receptacles, etc.).

           FINDINGS OF INVESTIGATION
                 Here, the toilet seat covers are 65 inches above the floor.

           CONCLUSION -VIOLATION
               Since the toilet seat covers are 65 inches above the floor, it is in violation of this
    section.




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    *    AREA OF CONCERN
              What is the correct side to place the flush valve?

         ADAAG 4.16.5 & CA Title 24 1502.0 Flush Valve - Correct Side
             The flush valve is on wide side of toilet area.


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                                  EQUIVALENT FACILITATION FOR
                                    EXISTING BUtLDlNGS ONLY



         FINDINGS OF INVESTIGATION
               Here, the flush valve is on the narrow side of the toilet area.

         CONCLUSION - VIOLATION
             Since the flush valve is on the narrow side of the toilet area, they are in violation.




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   *      AREA OF CONCERN
               How far from the side wall corner should the water closet be mounted/located?

          ADAAG 4.17.3 & CA Title 24 11158.7.1.2 Water Closet Mounting/Location - Corner
   Wall
                 There should be 18 inches between the center of the water closet to the side wall
   corner.


                              18"
                                   35"MIN.




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                                                                   FLUSH ACTIVATION
                                                                   ON WIDE SlDE
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                                                  OF WATER
                                                      CLOSET




                             '---....,-~



                                            32"MIN.
                                             CLEAR.




                        EQUIVALENT FACILITATION FOR
                          EXISTING BUILDINGS ONLY

   FINDINGS OF INVESTIGATION
             Here, there is 24 inches between the center of the water closet to the side wall
   corner.

           CONCLUSION- VIOLATION
                  Since there is 24 inches between the center of the water closet to the side wall
    corner, they are in violation.


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    *       AREA OF CONCERN
                 Which direction should the stall door swing?

            ADAAG 4.23.4 ADA 4.17.3 & CA Title 24 11158.7.1.4 (Outward Swinging Door)
                The door shall be an outward swinging, self-closing door.


                        36"ABSOLUTE




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                             13
        .
                             0          ,
                                            ;'!.,..
                                             It)      )(
                                                           X=66" MINlMUliol WITH WALL-WOUNTED
                                                             WATER CLOSET
                                                           X=&9• liollNlliolUM WlTH FLOOR•MOUNTED
                                                             WATER CLOSET


                         •                                 .Jil:rrt:
                                                                 .TOTAL REQUIRED STALL LENGTH
                       2!:                                 MUST .INCORPORATE MINllAUM
                       l'                                  REQUIRED 48• Cl.EAR SPACE IN
                                                           FRONT OF WATER CLOSET.
                       ~

                  c




                                        -
                             ;52•M1N.


                ....               /        Out-ward swing




         FINDINGS OF INVESTIGATION
              Here, the door swings inward.

         CONCLUSION-VIOLATION
             Since the door does NOT swing outward, they are in violation.




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   *      AREA OF CONCERN
               Should there be a handle on both sides of the toilet stall compartment door?

          ADAAG 4.13.9 & CA Title 24 11158.7.1.4 Handles Inside/Outside Compartment Door
                  Inside and outside of the compartment door is equipped with a loop of U-Shaped
   handle immediately below the latch. The latch is a flip-over style, sliding, or other hardware
   not requiring tight grasping of twisting.




       LOOI' OR U-'SHAPED
       HAND~ ON llOOR --......




                                                                             or---
                                                                                 o
                                                                             0         0



                           U-SHAPED HANDLE                               LOOP HANDLE
  FINDINGS OF INVESTIGATION
        Here, there are not handles on both sides of the designated disabled toilet stall
  compartment door.

  CONCLUSION-VIOLATION
       Since there are not handles on both sides of the designated disabled toilet stall
  compartment door, they are in violation


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   D.      ANY OTHER MEASURES NECESSARY

   D(1) PUBLIC TELEPHONES & WATER FOUNTAINS

           N/A



   D(2). HAZARDS & EMERGENCY PROCEDURES

           N/A



   D(3)    CONTROLS & OPERATING MECHANISMS, VENDING MACHINES, AUTOMATED
           TELLER MACHINES AND POINT OF SALE MACHINES

           N/A



    D(4). ELEVATORS

           N/A



    VII.   PRIOR HISTORY OF ADA COMPLAINTS/LITIGATION

           None



   VIII.   LIST OF BUSINESSES IN NON-COMPLIANCE

                  The following business/tenants are located within facility surveyed and therefore
           in non-compliance with respect to the AMERICAN DISABILITY ACT, ADA
           ACCESSIBLE GUIDELINES:

    ADAAG SURVEY OF:           DUBLIN SQUARE IRISH PUB AND GRILL
                               554 4TH AVENUE
                               SAN DEIGO, CA 92101




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